                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In re: SARAI SERVICES GROUP, INC.1     )
                                       )                            Case No.: 18-82948-CRJ-11
      EIN: xx-xxx2969                  )
                                       )
             Debtor.                   )                            CHAPTER 11
_______________________________________)

     DEBTOR’S AMENDED MOTION FOR APPROVAL OF COMPROMISE AND
       SETTLEMENT WITH THE GENERAL SERVICES ADMINISTRATION
                 AND THE U.S. DEPARTMENT OF LABOR

        COMES NOW Sarai Services Group, Inc., as Chapter 11 Debtor (“Debtor”), and shows
unto this Honorable Court the following:

                                               Background

       1.     On October 3, 2018, the Debtor commenced with this Court a voluntary case under
Chapter 11 of Title 11, United States Code.

        2.     This Court has subject matter jurisdiction to consider and determine this motion
pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue
is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.     On December 12, 2018, the Debtor filed a Motion for Turnover of Property of the
Estate and Request for Sanctions for Violation of the Automatic Stay, alleging that the General
Services Administration (“GSA”) owed the Debtor over $258,000.00 for post-petition services
rendered under three GSA contracts and that the U.S. Department of Labor, Wage and Hour
Division, Southwest Regional Office (“DOL”) had demanded that GSA transfer the sums owed
to the Debtor to DOL while DOL conducts its own investigation related to the termination of the
three GSA contracts.2

        4.     The parties have appeared before this Court and briefed several issues in this
matter. The parties have also engaged in concerted negotiations.

1
        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No. 18-
82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18- 82951-
CRJ-11.
2
 The three GSA contracts in question were entered into with SSGWWJV, LLC and have the following contract
numbers, 47PH0217D0001; GS-07-P-17-JU-D-0008; and GS-07-P-17-JU-D-0010.




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        5.       To resolve this controversy, the Debtor, GSA and DOL have reached a
compromise and settlement, which the Debtor presents to the Court with this motion. The Debtor
avers that this proposed resolution is in its best interest and the bankruptcy estate as a whole. This
agreement resolves the claims identified herein related to the three GSA contracts and the related
post-petition SCA claims but it does not impair administrative claims, to the extent any may exist,
that may be filed by any Wage and Hour Office with the exception of the Wage and Hour
Southwest Region which claims are resolved fully by this motion. This motion will not impact
any claims that other agencies within the U.S. Department of Labor may have, including but not
limited to the Employee Benefit Security Administration (EBSA).


                                         Jurisdiction and Notice

       6.    The Debtor brings the Motion pursuant to § 105 of the Bankruptcy Code and Rules
2002 and 9019 of the Federal Rules of Bankruptcy Procedure.

        7.      The Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. §
1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). To the extent that this
Court is being asked to enter a final order on any non-core matter, the Parties expressly consent
to the entry of a final order.

        8.      Pursuant to Bankruptcy Rule 2002, the Debtor proposes to serve a copy of this
Motion upon the Bankruptcy Administrator, the Debtor’s 20 largest unsecured creditors, and all
parties requesting notice in the Debtor’s bankruptcy case.

                           Agreement for Compromise and Settlement

       9.       The agreement by and between the parties to resolve all issues involved in this
dispute are as follows:
                 a.      Upon entry of an Order approving this settlement, GSA will tender the
         entire sum in its possession, $208,690.97, in a payment of $117,765.21 to the Debtor and
         a payment of $90,925.76 to DOL, thus terminating GSA’s liability in this dispute;
                 b.      With DOL’s receipt of the GSA payment, DOL’s post-petition claim in
         this case, , and the Debtor’s entire post-petition liability to DOL3 with respect to monies
         owed pursuant to the Service Contract Act on the 3 identified GSA contracts will be
         deemed satisfied;

3
  This settlement is limited to the resolution of the SCA post-petition claims as defined in this motion and
specifically does not include any claims asserted by the U.S. Department of Labor under Title 1 of the Employee
Retirement Income Security Act of 1974, 29 U.S.C. § 1001 et seq., as amended (ERISA). DOL has filed a proof of
claim for amounts that are owed under ERISA, proof of claim no. 34-1. The initial review conducted by EBSA
indicates that the Debtor may be a fiduciary of health and welfare plans covered by ERISA. EBSA’s investigation
under ERISA is ongoing and any potential post-petition claims are not included in this settlement. Furthermore, to
the extent that additional pre-petition and post-petition claims exist related to contracts not specifically listed in
this motion, such claims are not released.




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               c.     With Debtor’s receipt of the GSA payment, Debtor releases GSA from any
       further claims related to the payment of any funds for the contracts which are the subject
       of the Motion for Turnover of Property of the Estate and Request for Sanctions for
       Violation of the Automatic Stay;
               d.     GSA and DOL will not propose or request any restrictions on the funds
       that the Debtor receives from GSA, and no other agency or entity of DOL will interfere
       with GSA’s payment of $117,765.21 to the Debtor;
               e.     DOL will provide an itemized list of who they pay from this GSA payment,
       so that the Debtor may object to any duplicate claims that are filed in its Chapter 11 case;
       and,
               f.     DOL represents that it does not propose or intend to pay any exaggerated
       benefit claims promoted by the union.
                 Business Justification for Compromise and Settlement

        10.   Bankruptcy Rule 9019(a) authorizes a bankruptcy court to approve compromises
and settlements. The approval or rejection of a compromise is left to the sound discretion of the
Bankruptcy Court, and is to be determined by the particular circumstances of each proposed
compromise. The term “sound discretion” denotes the absence of a hard-and-fast rule. When
invoked as a guide to judicial action, it means a decision giving due regard to what is right and
equitable under the particular circumstances of the case and applicable law. Langes v. Green,
282 U.S. 531, 541 (1931).

       11.    Courts have supplied the following criteria when determining the acceptability of
a proposed compromise:

       (i)     The probability of success in the litigation;
       (ii)    The complexity of the litigation involved; and
       (iii)   The expense, inconvenience, and delay necessarily attending the litigation
               (including the possibility that denial of the settlement will cause the depletion of
               assets).

Wallis v. Justice Oaks, II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990) and
In re Jackson Brewing Co., 624 F.2d 605, 607 (5th Cir. 1980). See also Protective Comm. for
Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414 (1968). The court is
required to decide whether the settlement falls below the lowest point in a range of
reasonableness. Anacona-Ericsson v. Hennson (In re Teletronics Services, Inc.), 762 F.2d 185,
187-89 (2d Cir. 1985) (quoting Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d
Cir. 1983), cert denied 464 U.S. 822 (1984)).


        12.    Although the parties each believe strongly in their respective claims and defenses,
each also recognizes the risks inherent in any litigation.




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        13.     A settlement of the parties’ disputes in accordance with this Motion will result in
the resolution of these claims and minimize the bankruptcy estate’s administrative costs.

       14.    The proposed compromise and settlement is consistent with the intent and the
requirements of Title 11 of the U.S. Code.

       15.    This settlement and compromise is proposed in good faith and is the product of
arms-length negotiations that have occurred between the Parties over an extended period of time.

                                         Conclusion

       WHEREFORE, PREMISES CONSIDERED, the Debtor requests that this Court:

        A.      Enter a final order approving this compromise and settlement; authorizing the
parties to execute and deliver any and all other documents which may be necessary or appropriate
to effectuate the compromise and settlement described herein; and

       B.    Granting such further and different relief as this Court may deem just and
appropriate.
       Respectfully submitted, this the 28th day of May, 2019.

                                              /s/ Tazewell T. Shepard III
                                              Tazewell T. Shepard III
                                              Tazewell T. Shepard IV
                                              Attorneys to Debtor-in-Possession

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                                CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing document upon all the parties
listed on the Clerk’s Certified Matrix and Richard M. Blythe, Office of the Bankruptcy
Administrator, by electronic service through the Court’s CM/ECF system and/or by placing a
copy of same in the United States Mail, postage pre-paid.

       Respectfully submitted this the 28th day of May, 2019.

                                              /s/ Tazewell T. Shepard III
                                              Tazewell T. Shepard III




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